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                                                                                                         7 JERRY GLOMBOSKE
                                                                                                         8
                                                                                                                                         UNITED STATES DISTRICT COURT
                                                                                                         9
                                                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                           LOURDES TOMAN, an individual,                    Case No. 8:20-cv-00046-DOC-KES
                                                                                                        12 ANTONIO PAREDES, an individual,
                                                                                                           and ALAN CASTRO, an individual,                  DEFENDANT JERRY
                                                                                                        13                                                  GLOMBOSKE’S ANSWER TO
                                                                                                                     Plaintiffs,                            COMPLAINT AND DEMAND FOR
                                                                                                        14      v.                                          JURY TRIAL
                                                                                                        15 BREA POLICE OFFICER JERRY
                                                                                                           GLOMBOSKE, sued in his individual
                                                                                                        16 capacity; FULLERTON POLICE
                                                                                                           OFFICERS CRABTREE, HERRERA,
                                                                                                        17 MCCASKILL MCSHANE, PEDROZA,
                                                                                                           and PEREZ, all sued in their individual
                                                                                                        18 capacities; and DOES 1-10, inclusive,
                                                                                                        19                      Defendants.
                                                                                                       20
                                                                                                       21
                                                                                                       22             Defendant Jerry Glomboske (“Defendant”) answers the Complaint of Lourdes
                                                                                                       23 Toman, Antonio Paredes, and Alan Castro (collectively “Plaintiffs”), as follows:
                                                                                                       24             1.        Answering paragraph 1 of the Complaint, Defendant admits each and
                                                                                                       25 every allegation in this paragraph.
                                                                                                       26             2.        Answering paragraph 2 of the Complaint, Defendant admits that
                                                                                                       27 Plaintiffs allege state law claims in the Complaint. Except as expressly admitted and
                                                                                                       28 alleged herein, Defendant denies each and every allegation in this paragraph.

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                                                                                                         1            3.        Answering paragraph 3 of the Complaint, Defendant admits each and
                                                                                                         2 every allegation in this paragraph.
                                                                                                         3            4.        Answering paragraph 4 of the Complaint, Defendant lacks sufficient
                                                                                                         4 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                         5 denies each and every allegation set forth therein.
                                                                                                         6            5.        Answering paragraph 5 of the Complaint, Defendant lacks sufficient
                                                                                                         7 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                         8 denies each and every allegation set forth therein.
                                                                                                         9            6.        Answering paragraph 6 of the Complaint, Defendant lacks sufficient
                                                                                                        10 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                        11 denies each and every allegation set forth therein.
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                                                                                                        12            7.        Answering paragraph 7 of the Complaint, Defendant admits that he is an
                                                                                                        13 employee of the City of Brea, and that he was acting under color of law, and in the
                                                                                                        14 course and scope of his employment in connection with the incidents alleged in the
                                                                                                        15 Complaint. Except as expressly admitted and alleged herein, Defendant denies each
                                                                                                        16 and every allegation in this paragraph.
                                                                                                                      8.        Answering paragraph 8 of the Complaint, Defendant lacks sufficient
                                                                                                             information to admit or deny the allegations in this paragraph and on that basis
                                                                                                        19 denies each and every allegation,set forth therein.
                                                                                                       20             9.        Answering paragraph 9 of the Complaint, Defendant is informed and
                                                                                                        21 believes that Christina Massini is a social worker employed by the County of
                                                                                                       22 Orange. Except as expressly admitted and alleged herein, Defendant denies each and
                                                                                                       23 every allegation in this paragraph.
                                                                                                        24            10.        Answering paragraph 10 of the Complaint, Defendant lacks sufficient
                                                                                                       25 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                       26 denies each and every allegation set forth therein.
                                                                                                       27             11.       Answering paragraph 11 of the Complaint, Defendant denies each and
                                                                                                       28 every allegation in this paragraph.
                                                                                                              _ ______________________________ -2- ____________
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                                                                                                   1            12.      Answering paragraph 12, the City denies that there is a “government tort
                                                                                                   2 claim”, or that Plaintiffs exhausted administrative remedies. However, the City
                                                                                                   3 admits that it received a Government Claim, and that Plaintiffs satisfied the
                                                                                                   4 requirements of the Government Code with respect to filing a Government Claim.
                                                                                                   5            13 .    Answering paragraph 13 of the Complaint, Defendant lacks sufficient
                                                                                                   6 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                   7 denies each and every allegation set forth therein.
                                                                                                   8            14.      Answering paragraph 14 of the Complaint, Defendant lacks sufficient
                                                                                                   9 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                  10 denies each and every allegation set forth therein.
                                                                                                  11            15.      Answering paragraph 15 of the Complaint, Defendant lacks sufficient
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                                                                                                  12 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                  13 denies each and every allegation set forth therein.
                                                                                                  14            16.      Answering paragraph 16 of the Complaint, Defendant admits that he is
                                                                                                  15 an employee of the City of Brea, and that he spoke with Ms. San Pedro concerning
                                                                                                  16 the sale of the property. Defendant lacks sufficient information to admit or deny the
                                                                                                  17 remaining allegations in this paragraph and on that basis denies each and every
                                                                                                  18 allegation set forth therein.
                                                                                                  19            17.       Answering paragraph 17 of the Complaint, Defendant lacks sufficient
                                                                                                 20 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                 21 denies each and every allegation set forth therein.
                                                                                                 22             18.       Answering paragraph 18 of the Complaint, Defendant lacks sufficient
                                                                                                 23 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                 24 denies each and every allegation set forth therein.
                                                                                                 25             19.       Answering paragraph 19 of the Complaint, Defendant lacks sufficient
                                                                                                 26 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                 27 denies each and every allegation set forth therein.
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                                                                                               1            20.       Answering paragraph 20 of the Complaint, Defendant lacks sufficient
                                                                                               2 information to admit or deny the allegations in this paragraph and on that basis
                                                                                               3 denies each and every allegation set forth therein.
                                                                                               4            21.       Answering paragraph 21 of the Complaint, Defendant admits that that
                                                                                               5 on or prior to March 10, 2019, he requested to interview James Toman on March 11,
                                                                                               6 2019. Defendant admits that he spoke with, and received and sent emails to and
                                                                                               7 from Cassie Doutt. He admits that the substance of the communications as alleged in
                                                                                               8 paragraph 21 are consistent with his recollection.
                                                                                               9            22.       Answering paragraph 22 of the Complaint, Defendant lacks sufficient
                                                                                              10 information to admit or deny the allegations in this paragraph and on that basis
                                                                                              11 denies each and every allegation set forth therein.
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                                                                                              12            23.       Answering paragraph 23 of the Complaint, Defendant admits that he
                                                                                              13 sent an email to Ms. Doutt on or about March 18, 2019 asking her to telephone him
                                                                                              14 regarding contacting Mr. Toman.
                                                                                              15            24.       Answering paragraph 24 of the Complaint, Defendant admits that he
                                                                                              16 went to the Toman residence on March 20, 2019, and that he was accompanied by
                                                                                                   two Detectives from the Brea Police Department. Defendant admits that he spoke
                                                                                                   with Cassie Doutt. He admits that the substance of the communications as alleged in
                                                                                                   paragraph 24 are consistent with his recollection.
                                                                                                            25.       Answering paragraph 25 of the Complaint, Defendant denies that he
                                                                                              21 spoke with Mr. Toman in a manner that was unflattering or derogatory towards Ms.
                                                                                              22 Toman; and further denies that there were “three detectives” present. Defendant
                                                                                              23 admits the remaining allegations of Paragraph 25.
                                                                                              24            26.       Answering paragraph 26, Defendant denies that Ms. Toman “scoffed”
                                                                                             25 or that he “insisted”. He further denies that Mr. Toman had “no warning” that
                                                                                             26 Defendant would provide Mr. Toman’s address to Kevin Toman. He admits that the
                                                                                             27 substance of the communications as alleged in paragraph 26 are consistent with his
                                                                                             28 recollection.
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                                                                                                        DEFENDANT JERRY GLOMBOSKE'S ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL
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                                                                                                       1            27.       Answering paragraph 27 of the Complaint, Defendant lacks sufficient
                                                                                                       2 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                       3 denies each and every allegation set forth therein.
                                                                                                       4            28.       Answering paragraph 28 of the Complaint, Defendant lacks sufficient
                                                                                                       5 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                       6 denies each and every allegation set forth therein.
                                                                                                       7            29.       Answering paragraph 29 of the Complaint, Defendant lacks sufficient
                                                                                                       8 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                       9 denies each and every allegation set forth therein.
                                                                                                      10            30.       Answering paragraph 30 of the Complaint, Defendant lacks sufficient
                                                                                                      11 information to admit or deny the allegations in the first sentence of this paragraph
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                                                                                                      12 and on that basis denies each and every allegation set forth therein. Defendant
                                                                                                      13 admits that he spoke with Mr. Fell and that his recollection of the conversation is
                                                                                                      14 consistent with that as reported in the second sentence of that paragraph.
                                                                                                      15            31.      Answering paragraph 31 of the Complaint, Defendant denies the facts as
                                                                                                      16 stated in the first sentence of that paragraph. Defendant lacks sufficient information
                                                                                                      17 to admit or deny the remaining allegations in paragraph 31 and on that basis denies
                                                                                                      18 each and every allegation set forth therein.
                                                                                                      19            32.       Answering paragraph 32 of the Complaint, Defendant lacks sufficient
                                                                                                      20 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                      21 denies each and every allegation set forth therein.
                                                                                                      22            33.       Answering paragraph 33 of the Complaint, Defendant lacks sufficient
                                                                                                      23 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                      24 denies each and every allegation set forth therein.
                                                                                                      25            34.       Answering paragraph 34 of the Complaint, Defendant lacks sufficient
                                                                                                      26 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                      27 denies each and every allegation set forth therein.
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                                                                           1            35.       Answering paragraph 35 of the Complaint, Defendant lacks sufficient
                                                                           2 information to admit or deny the allegations in this paragraph and on that basis
                                                                           3 denies each and every allegation set forth therein.
                                                                           4            36.       Answering paragraph 36 of the Complaint, Defendant lacks sufficient
                                                                           5 information to admit or deny the allegations in this paragraph and on that basis
                                                                           6 denies each and every allegation set forth therein.
                                                                           7            37.       Answering paragraph 37 of the Complaint, Defendant lacks sufficient
                                                                           8 information to admit or deny the allegations in this paragraph and on that basis
                                                                           9 denies each and every allegation set forth therein.
                                                                          10            38.       Answering paragraph 38 of the Complaint, Defendant lacks sufficient
                                                                          11 information to admit or deny the allegations in this paragraph and on that basis
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                                                                          12 denies each and every allegation set forth therein.
                                                                          13            39.       Answering paragraph 39 of the Complaint, Defendant lacks sufficient
                                                                          14 information to admit or deny the allegations in this paragraph and on that basis
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                                                                               denies each and every allegation set forth therein.
                                                                                        40.       Answering paragraph 40 of the Complaint, Defendant lacks sufficient
                                                                               information to admit or deny the allegations in this paragraph and on that basis
                                                                               denies each and every allegation set forth therein.
                                                                                        41.       Answering paragraph 41 of the Complaint, Defendant lacks sufficient
                                                                               information to admit or deny the allegations in this paragraph and on that basis
                                                                               denies each and every allegation set forth therein.
                                                                                        42.       Answering paragraph 42 of the Complaint, Defendant lacks sufficient
                                                                          23 information to admit or deny the allegations in this paragraph and on that basis
                                                                          24 denies each and every allegation set forth therein.
                                                                          25            43.       Answering paragraph 43 of the Complaint, Defendant lacks sufficient
                                                                          26 information to admit or deny the allegations in this paragraph and on that basis
                                                                          27 denies each and every allegation set forth therein.
                                                                          28 ///
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                                                                           1            44.       Answering paragraph 44 of the Complaint, Defendant lacks sufficient
                                                                           2 information to admit or deny the allegations in this paragraph and on that basis
                                                                           3 denies each and every allegation set forth therein.
                                                                           4            45.       Answering paragraph 45 of the Complaint, Defendant lacks sufficient
                                                                           5 information to admit or deny the allegations in this paragraph and on that basis
                                                                           6 denies each and every allegation set forth therein.
                                                                           7            46.       Answering paragraph 46 of the Complaint, Defendant lacks sufficient
                                                                           8 information to admit or deny the allegations in this paragraph and on that basis
                                                                           9 denies each and every allegation set forth therein.
                                                                          10            47.       Answering paragraph 47 of the Complaint, Defendant lacks sufficient
                                                                          11 information to admit or deny the allegations in this paragraph and on that basis
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                                                                          12 denies each and every allegation set forth therein.
                                                                          13            48.       Answering paragraph 48 of the Complaint, Defendant lacks sufficient
                                                                          14 information to admit or deny the allegations in this paragraph and on that basis
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                                                                          15 denies each and every allegation set forth therein.
                                                                          16            49.       Answering paragraph 49 of the Complaint, Defendant lacks sufficient
                                                                               information to admit or deny the allegations in this paragraph and on that basis
                                                                               denies each and every allegation set forth therein.
                                                                                        50.       Answering paragraph 50 of the Complaint, Defendant lacks sufficient
                                                                          20 information to admit or deny the allegations in this paragraph and on that basis
                                                                          21 denies each and every allegation set forth therein.
                                                                          22            51.      Answering paragraph 51 of the Complaint, Defendant incorporates his
                                                                          23 answering responses to paragraphs 1 through 48 as though fully set forth herein.
                                                                          24            52.       Answering paragraph 52 of the Complaint, Defendant lacks sufficient
                                                                          25 information to admit or deny the allegations in this paragraph and on that basis
                                                                          26 denies each and every allegation set forth therein.
                                                                          27            53.       Answering paragraph 53 of the Complaint, Defendant denies each and
                                                                          28 every allegation set forth therein.
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                                                                                                          1            54.       Answering paragraph 54 of the Complaint, Defendant denies each and
                                                                                                          2 every allegation set forth therein regarding his conduct. With respect to the conduct
                                                                                                          3 of the Fullerton Defendants, Defendant lacks sufficient information to admit or deny
                                                                                                          4 the allegations in this paragraph and on that basis denies each and every allegation
                                                                                                          5 set forth therein.
                                                                                                          6            55.       Answering paragraph 55 of the Complaint, insofar as the allegations of
                                                                                                          7 this paragraph contain legal conclusions, no answer is required. Defendant denies
                                                                                                          8 each and every remaining allegation set forth therein regarding his conduct. With
                                                                                                          9 respect to the conduct of the Fullerton Defendants, Defendant lacks sufficient
                                                                                                         10 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                         11 denies each and every allegation set forth therein.
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                                                                                                         12            56.       Answering paragraph 56 of the Complaint, insofar as the allegations of
                                                                                                         13 this paragraph contain legal conclusions, no answer is required. Defendant denies
                                                                                                         14 each and every remaining allegation set forth therein regarding his conduct. With
                                                                                                              respect to the conduct of the Fullerton Defendants, Defendant lacks sufficient
                                                                                                              information to admit or deny the allegations in this paragraph and on that basis
                                                                                                              denies each and every allegation set forth therein.
                                                                                                                       57.       Answering paragraph 57 of the Complaint, Defendant incorporates his
                                                                                                         19 answering responses to paragraphs 1 through 48 as though fully set forth herein.
                                                                                                         20            58.      Answering paragraph 58 of the Complaint, Defendant lacks sufficient
                                                                                                         21 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                         22 denies each and every allegation set forth therein.
                                                                                                         23            59.      Answering paragraph 59 of the Complaint, Defendant lacks sufficient
                                                                                                         24 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                         25 denies each and every allegation set forth therein.
                                                                                                         26            60.      Answering paragraph 60 of the Complaint, Defendant lacks sufficient
                                                                                                        27 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                        28 denies each and every allegation set forth therein.
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                                                                           1            61.      Answering paragraph 61 of the Complaint, insofar as the allegations of
                                                                           2 this paragraph contain legal conclusions, no answer is required. Defendant lacks
                                                                           3 sufficient information to admit or deny the remaining allegations in this paragraph
                                                                           4 and on that basis denies each and every allegation set forth therein.
                                                                           5            62.       Answering paragraph 62 of the Complaint, Defendant lacks sufficient
                                                                           6 information to admit or deny the allegations in this paragraph and on that basis
                                                                           7 denies each and every allegation set forth therein.
                                                                           8            63.       Answering paragraph 63 of the Complaint, Defendant incorporates his
                                                                           9 answering responses to paragraphs 1 through 48 as though fully set forth herein.
                                                                          10            64.       Answering paragraph 64 of the Complaint, Defendant lacks sufficient
                                                                          11 information to admit or deny the allegations in this paragraph and on that basis
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                                                                          12 denies each and every allegation set forth therein.
                                                                          13            65.       Answering paragraph 65 of the Complaint, Defendant lacks sufficient
                                                                          14 information to admit or deny the allegations in this paragraph and on that basis
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                                                                          15 denies each and every allegation set forth therein.
                                                                          16            66.       Answering paragraph 66 of the Complaint, Defendant lacks sufficient
                                                                               information to admit or deny the allegations in this paragraph and on that basis
                                                                               denies each and every allegation set forth therein.
                                                                                        67.       Answering paragraph 67 of the Complaint, Defendant lacks sufficient
                                                                          20 information to admit or deny the allegations in this paragraph and on that basis
                                                                          21 denies each and every allegation set forth therein.
                                                                          22            68.       Answering paragraph 68 of the Complaint, Defendant lacks sufficient
                                                                         23 information to admit or deny the allegations in this paragraph and on that basis
                                                                         24 denies each and every allegation set forth therein.
                                                                         25             69.       Answering paragraph 69 of the Complaint, Defendant lacks sufficient
                                                                         26 information to admit or deny the allegations in this paragraph and on that basis
                                                                         27 denies each and every allegation set forth therein.
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                                                                                              1            70.       Answering paragraph 70 of the Complaint, Defendant incorporates his
                                                                                              2 answering responses to paragraphs 1 through 48 as though fully set forth herein.
                                                                                              3            71.       Answering paragraph 71 of the Complaint, Defendant lacks sufficient
                                                                                              4 information to admit or deny the allegations in this paragraph and on that basis
                                                                                              5 denies each and every allegation set forth therein.
                                                                                              6            72.       Answering paragraph 72 of the Complaint, Defendant lacks sufficient
                                                                                              7 information to admit or deny the allegations in this paragraph and on that basis
                                                                                              8 denies each and every allegation set forth therein.
                                                                                              9            73.       Answering paragraph 73 of the Complaint, Defendant lacks sufficient
                                                                                             10 information to admit or deny the allegations in this paragraph and on that basis
                                                                                             11 denies each and every allegation set forth therein.
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                                                                                             12            74.       Answering paragraph 74 of the Complaint, Defendant lacks sufficient
                                                                                             13 information to admit or deny the allegations in this paragraph and on that basis
                                                                                             14 denies each and every allegation set forth therein.
                                                                                                           75.       Answering paragraph 75 of the Complaint, Defendant incorporates his
                                                                                                  answering responses to paragraphs 1 through 48 as though fully set forth herein.
                                                                                                           76.       Answering paragraph 76 of the Complaint, Defendant lacks sufficient
                                                                                                  information to admit or deny the allegations in this paragraph and on that basis
                                                                                                  denies each and every allegation set forth therein.
                                                                                                           77.       Answering paragraph 77 of the Complaint, Defendant denies each and
                                                                                                  every allegation set forth therein.
                                                                                                           78.       Answering paragraph 78 of the Complaint, Defendant denies each and
                                                                                             23 every allegation set forth therein.
                                                                                             24            79.       Answering paragraph 79 of the Complaint, insofar as the allegations of
                                                                                             25 this paragraph contain legal conclusions, no answer is required. Defendant denies
                                                                                             26 each and every remaining allegation set forth therein.
                                                                                             27            80.       Answering paragraph 80 of the Complaint, Defendant denies each and
                                                                                             28 every allegation set forth therein.
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                                                                                                1            81.      Answering paragraph 81 of the Complaint, Defendant incorporates his
                                                                                                2 answering responses to paragraphs 1 through 48 as though fully set forth herein.
                                                                                                3            82.       Answering paragraph 82 of the Complaint, Defendant lacks sufficient
                                                                                                4 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                5 denies each and every allegation set forth therein.
                                                                                                6            83.       Answering paragraph 83 of the Complaint, Defendant lacks sufficient
                                                                                                7 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                8 denies each and every allegation set forth therein.
                                                                                                9            84.       Answering paragraph 84 of the Complaint, Defendant lacks sufficient
                                                                                               10 information to admit or deny the allegations in this paragraph and on that basis
                                                                                               11 denies each and every allegation set forth therein.
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                                                                                               12            85.       Answering paragraph 85 of the Complaint, Defendant lacks sufficient
                                                                                               13 information to admit or deny the allegations in this paragraph and on that basis
                                                                                               14 denies each and every allegation set forth therein.
                                                                                                             86.       Answering paragraph 86 of the Complaint, Defendant lacks sufficient
                                                                                                    information to admit or deny the allegations in this paragraph and on that basis
                                                                                                    denies each and every allegation set forth therein.
                                                                                                             87.       Answering paragraph 87 of the Complaint, Defendant incorporates his
                                                                                               19 answering responses to paragraphs 1 through 48 as though fully set forth herein.
                                                                                               20            88.       Answering paragraph 88 of the Complaint, Defendant lacks sufficient
                                                                                               21 information to admit or deny the allegations in this paragraph and on that basis
                                                                                               22 denies each and every allegation set forth therein.
                                                                                               23            89.       Answering paragraph 89 of the Complaint, Defendant lacks sufficient
                                                                                               24 information to admit or deny the allegations in this paragraph and on that basis
                                                                                               25 denies each and every allegation set forth therein.
                                                                                               26            90.       Answering paragraph 90 of the Complaint, Defendant lacks sufficient
                                                                                               27 information to admit or deny the allegations in this paragraph and on that basis
                                                                                               28 denies each and every allegation set forth therein.
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                                                                               1            91.       Answering paragraph 91 of the Complaint, Defendant lacks sufficient
                                                                               2 information to admit or deny the allegations in this paragraph and on that basis
                                                                               3 denies each and every allegation set forth therein.
                                                                               4            92.       Answering paragraph 92 of the Complaint, Defendant lacks sufficient
                                                                               5 information to admit or deny the allegations in this paragraph and on that basis
                                                                               6 denies each and every allegation set forth therein.
                                                                               7            93.       Answering paragraph 93 of the Complaint, Defendant lacks sufficient
                                                                               8 information to admit or deny the allegations in this paragraph and on that basis
                                                                               9 denies each and every allegation set forth therein.
                                                                              10            94.       Answering paragraph 94 of the Complaint, Defendant incorporates his
                                                                              11 answering responses to paragraphs 1 through 48 as though fully set forth herein.
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                                                                              12            95.       Answering paragraph 95 of the Complaint, Defendant lacks sufficient
                                                                              13 information to admit or deny the allegations in this paragraph and on that basis
                                                                              14 denies each and every allegation set forth therein.
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                                                                                            96.       Answering paragraph 96 of the Complaint, Defendant lacks sufficient
                                                                                   information to admit or deny the allegations in this paragraph and on that basis
                                                                                   denies each and every allegation set forth therein.
                                                                                            97.       Answering paragraph 97 of the Complaint, Defendant lacks sufficient
                                                                              19 information to admit or deny the allegations in this paragraph and on that basis
                                                                              20 denies each and every allegation set forth therein.
                                                                              21            98.       Answering paragraph 98 of the Complaint, Defendant lacks sufficient
                                                                              22 information to admit or deny the allegations in this paragraph and on that basis
                                                                              23 denies each and every allegation set forth therein.
                                                                              24            99.       Answering paragraph 99 of the Complaint, Defendant lacks sufficient
                                                                              25 information to admit or deny the allegations in this paragraph and on that basis
                                                                              26 denies each and every allegation set forth therein.
                                                                              27            100.      Answering paragraph 100 of the Complaint, Defendant incorporates his
                                                                              28 answering responses to paragraphs 1 through 48 as though fully set forth herein.
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                                                                                              1            101.      Answering paragraph 101 of the Complaint, Defendant lacks sufficient
                                                                                              2 information to admit or deny the allegations in this paragraph and on that basis
                                                                                              3 denies each and every allegation set forth therein.
                                                                                              4             102.     Answering paragraph 102 of the Complaint, Defendant lacks sufficient
                                                                                              5 information to admit or deny the allegations in this paragraph and on that basis
                                                                                              6 denies each and every allegation set forth therein.
                                                                                              7            103.      Answering paragraph 103 of the Complaint, Defendant lacks sufficient
                                                                                              8 information to admit or deny the allegations in this paragraph and on that basis
                                                                                              9 denies each and every allegation set forth therein.
                                                                                             10            104.      Answering paragraph 104 of the Complaint, Defendant lacks sufficient
                                                                                             11 information to admit or deny the allegations in this paragraph and on that basis
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                                                                                             12 denies each and every allegation set forth therein.
                                                                                             13            105.      Answering paragraph 105 of the Complaint, Defendant lacks sufficient
                                                                                             14 information to admit or deny the allegations in this paragraph and on that basis
                                                                                             15 denies each and every allegation set forth therein.
                                                                                             16            106.      Answering paragraph 106 of the Complaint, Defendant incorporates his
                                                                                                  answering responses to paragraphs 1 through 16 as though fully set forth herein.
                                                                                                           107.      Answering paragraph 107 of the Complaint, Defendant lacks sufficient
                                                                                                  information to admit or deny the allegations in this paragraph and on that basis
                                                                                             20 denies each and every allegation set forth therein.
                                                                                             21            108.      Answering paragraph 108 of the Complaint, Defendant denies each and
                                                                                             22 every allegation set forth therein.
                                                                                             23            109.      Answering paragraph 109 of the Complaint, Defendant denies that he
                                                                                             24 “intimidated and threatened” Lynne San Pedro. Defendant lacks sufficient
                                                                                             25 information to admit or deny the remaining allegations in this paragraph and on that
                                                                                             26 basis denies each and every allegation set forth therein.
                                                                                             27            110.      Answering paragraph 110 of the Complaint, Defendant denies each and
                                                                                             28 every allegation set forth therein.
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                                                                                                  1            111.      Answering paragraph 111 of the Complaint, Defendant lacks sufficient
                                                                                                  2 information to admit or deny the allegations in this paragraph and on that basis
                                                                                                  3 denies each and every allegation set forth therein.
                                                                                                  4            112.      Answering paragraph 112 of the Complaint, Defendant denies each and
                                                                                                  5 every allegation set forth therein.
                                                                                                  6
                                                                                                  7                                    AFFIRMATIVE DEFENSES
                                                                                                  8
                                                                                                  9                                 FIRST AFFIRMATIVE DEFENSE
                                                                                                 10            1.        Defendant is entitled to qualified immunity since the applicable law was
                                                                                                 11 not clearly established and since a reasonable official in defendant’s position could
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                                                                                                 12 have believed his or her conduct was lawful.
                                                                                                 13                               SECOND AFFIRMATIVE DEFENSE
                                                                                                 14            2.        The Complaint does not state facts sufficient to constitute a cause of
                                                                                                      action against defendant.
                                                                                                                                   THIRD AFFIRMATIVE DEFENSE
                                                                                                               3.        A public employee is not liable for his/her act or omission, exercising
                                                                                                      due care, in the execution or enforcement of any law. Government Code Sections
                                                                                                 19 818.2 and 820.4.
                                                                                                 20                               FOURTH AFFIRMATIVE DEFENSE
                                                                                                 21            4.        A public employee is not liable for any injury caused by the act or
                                                                                                 22 omission of another person. Government Code Section 820.8.
                                                                                                 23                                 FIFTH AFFIRMATIVE DEFENSE
                                                                                                 24            5.        A public employee is not liable for any injury caused by a public
                                                                                                 25 employee’s misrepresentation, whether the misrepresentation be negligent or
                                                                                                 26 intentional. Government Code Sections 818.8 and 822.2.
                                                                                                 27 ///
                                                                                                 28 ///
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                                                                                                    1                                 SIXTH AFFIRMATIVE DEFENSE
                                                                                                    2            6.        A public employee is not liable for any injury resulting from his act or
                                                                                                    3 omission where the act or omission was the result of the exercise of the discretion
                                                                                                    4 vested in him, whether or not such discretion be abused. Government Code Section
                                                                                                    5 820.2.
                                                                                                    6                              SEVENTH AFFIRMATIVE DEFENSE
                                                                                                    7            7.        To the extent Plaintiffs’ injuries and damages, if any, were caused by
                                                                                                    8 adopting or failing to adopt an enactment or by failing to enforce any law, Defendant
                                                                                                    9 is immune pursuant to Government Code Sections 818.2 and 821.
                                                                                                   10                               EIGHTH AFFIRMATIVE DEFENSE
                                                                                                   11            8.        Any injury or damages to Plaintiffs was caused by the negligence and
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                                                                                                   12 omissions of Plaintiffs, that carelessness and negligence and omissions were the
                                                                                                   13 proximate cause of the alleged damage, if any, to each plaintiff.
                                                                                                   14                                NINTH AFFIRMATIVE DEFENSE
                                                                                                                 9.        To the extent that Plaintiffs suffered any damages, such damages were
                                                                                                        caused or contributed to by Plaintiffs and their damage, if any, should be reduced in
                                                                                                        direct proportion to that Plaintiffs fault.
                                                                                                                                     TENTH AFFIRMATIVE DEFENSE
                                                                                                   19            10.       The injuries and damages alleged by Plaintiffs, if any, were proximately
                                                                                                   20 caused by the negligence, conduct and liability of other persons or entities, and
                                                                                                   21 Defendant requests that an allocation of such negligence, conduct and liability be
                                                                                                   22 made among such other persons or entities, and that, if any liability is found on the
                                                                                                   23 part of these defendants, judgment against Defendant be only in an amount which is
                                                                                                   24 proportionate to the extent and percentage by which Defendant’s acts or omissions
                                                                                                   25 contributed to Plaintiffs’ alleged injuries or damages, if at all.
                                                                                                   26                              ELEVENTH AFFIRMATIVE DEFENSE
                                                                                                   27            11.       The negligence of a third party or parties was a superseding, intervening
                                                                                                   28 cause of the Plaintiffs’alleged injuries.
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                                                                                                         1                               TWELFTH AFFIRMATIVE DEFENSE
                                                                                                         2            12.      Defendant is not liable pursuant to the doctrine of assumption of risk.
                                                                                                         3                              THIRTEENTH AFFIRMATIVE DEFENSE
                                                                                                         4            13.      Plaintiffs failed to mitigate their damages. Plaintiffs’ injuries and
                                                                                                         5 damages, if any, have been aggravated as a result of Plaintiffs’ failure to exercise
                                                                                                         6 reasonable diligence in caring for those injuries and minimizing those damages, and
                                                                                                         7 Defendant’s liability, if any, must be limited to an amount of damage which would
                                                                                                         8 have been suffered had Plaintiffs exercised the diligence required of them.
                                                                                                         9                              FOURTEENTH AFFIRMATIVE DEFENSE
                                                                                                        10            14.       The actions of Defendant was in all respects reasonable, proper and
                                                                                                        11 legal.
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                                                                                                        12                               FIFTEENTH AFFIRMATIVE DEFENSE
                                                                                                        13            15.       Plaintiffs’ claims are barred by the doctrine of unclean hands.
                                                                                                        14                               SIXTEENTH AFFIRMATIVE DEFENSE
                                                                                                                      16.       Plaintiffs failed to comply with the claim filing requirements of the
                                                                                                             Government Tort Claims Act, Government Code Section 900, et seq.
                                                                                                                                        SEVENTEENTH AFFIRMATIVE DEFENSE
                                                                                                                      17.       The Complaint alleges grounds for liability that are not specified in
                                                                                                             Plaintiffs’ Government claim forms.
                                                                                                                                        EIGHTEENTH AFFIRMATIVE DEFENSE
                                                                                                                      18.       Defendant is not liable for any injury except as provided by statute
                                                                                                             pursuant to Government Code §815.
                                                                                                        23                              NINETEENTH AFFIRMATIVE DEFENSE
                                                                                                        24            19.       Pursuant to Government Code §818, and Newport City v. Fact Concerts,
                                                                                                        25 Inc., 453 U.S. 247 (1981), Defendant is not liable for exemplary or punitive damages
                                                                                                        26 in any sum, or at all.
                                                                                                        27 ///
                                                                                                        28 ///
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                                                                                                    1            WHEREFORE, Defendant prays that Plaintiffs take nothing by way of their
                                                                                                    2 Complaint and that Defendant herein recover his costs and such other and further
                                                                                                    3 relief as the Court may deem just and proper.
                                                                                                    4
                                                                                                    5 Dated: March 2, 2020                    RICHARDS, WATSON & GERSHON
                                                                                                                                               A Professional Corporation
                                                                                                    6                                         ROBERT C. CECCON
                                                                                                    7
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                                                                                                    9                                              ROBERT C. CECCON
                                                                                                                                                   Attorneys for Defendant,
                                                                                                   10                                              JERRY GLOMBOSKE
                                                                                                   11
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                                                                                                                               DEMANDFOR JURY TRIAL
                                                                                                2
                                                                                                3            TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                                                                                                4            PLEASE TAKE NOTICE that defendant JERRY GLOMBOSKE demands a
                                                                                                5 trial by jury pursuant to Federal Rules of Civil Procedure, Rule 38(b) and Local Rule
                                                                                                6 38-1.
                                                                                                7
                                                                                                8 Dated: March 2, 2020                   RICHARDS, WATSON & GERSHON
                                                                                                                                          A Professional Corporation
                                                                                                9                                        ROBERT C. CECCON
                                                                                                                                         SYLVIA J. QUACH
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                                                                                                                                         By:
                                                                                               12                                              ROBERT C. CECCON
                                                                                                                                               Attorneys for Defendant,
                                                                                               13                                              JERRY GLOMBOSKE
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